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UNITED STATES DISTR]CT COURT
SOUTHERN DISTRIC'I` OF OI-IIO

EASTERN DIVISION
Shye Worldwide, LLC,
Plaintif`f, Case No.: 2:15-Cv-00554-EAS-TPK
vs. District Judge Hon. Edmund A. Sargus, Jr.

Missry Associates, lnc. et al, Magistrate Judge Hon. Terence P. Kemp

Defendants.
SIIU.MIEMRDERQEDISMIS.SAL
Pursuant to Fed. R. Civ. P. 41 (a)(Z) and a confidential settlement agreement reached between the
parties, and further pursuant to the Court’s approval, the parties hereby stipulate to the dismissal of this
action with prejudice, with each party to bear its own costs and fees. The Court explicitly retains

jurisdiction to enforce the settlement agreement reached by the partiesl

Respectfully submitted,

For the Plaintiff Shye Worldwide LLC:

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sooRDERED: PSU§ 'l°li’>~ ,2015

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HON. EDMJND A. sARGUs, JR.
UNITED sTATEs DIsTRICT JUDGE

 

